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                                                                   FILED: October 10, 2018



                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT


                                       ___________________

                                             No. 18-300
                                        (8:16-cv-03350-TDC)
                                       ___________________

         DGS CONSTRUCTION, LLC, d/b/a Schuster Concrete Construction

                       Petitioner

         v.

         MARIO ERNESTO AMAYA; JOSE NORLAND GONZALEZ; JOSE AMADEO
         CASTILLO

                       Respondents

                                       ___________________

                                            ORDER
                                       ___________________

                 Upon consideration of submissions relative to the petition of defendant DGS

        Construction, LLC for permission to appeal pursuant to Federal Rule of Civil

        Procedure 23(f), the court grants the petition. This case is transferred to the regular

        docket and assigned docket number 18-2186. The record shall be retained in the

        court below unless requested by this court.
Appeal: 18-300     Doc: 22       Filed: 10/10/2018 Pg: 2 of 2
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                 Upon consideration of submissions relative to respondents’ consent motion to

        strike petitioner’s reply, the court grants the motion. Upon consideration of The

        Whiting-Turner Contracting Company’s motion to join the petition for permission

        to appeal, the court denies the motion.

                 A copy of this order shall be sent to the clerk of the district court.



                                                   For the Court

                                                   /s/ Patricia S. Connor, Clerk
